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                        EXHIBIT 2
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                               Transcript of Second GMA Story
                Video Attached as Exhibit 2-A to the Declaration of Erik MacRobbie

CECILIA VEGA (ABC NEWS): Let’s turn to new developments in that confrontation that went
viral. You probably saw it. Teens in Make America Great Again hats, face to face with that
Native American protestor. The scene quickly sparked outrage online. But now another video is
raising new questions about what really happened before the incident. And the teen at the center
of it all is now speaking out. ABC’s Erielle Reshef has the latest.

ERIELLE RESHEF (ABC NEWS): (Voiceover) Overnight, one of the teens at the center of this
now-viral encounter, defending himself, saying these initial images don’t tell the whole story.

DEMONSTRATOR: White people, go back to Europe.

ERIELLE RESHEF: (Voiceover) This clip of Nick Sandmann, appearing to stare down Nathan
Phillips, a 65-year-old Native American and Vietnam veteran, surrounded by a crowd of teens,
many wearing Make America Great Again hats, sparking an internet firestorm. Sandmann now
saying he and his family are receiving death threats, claiming in a statement, “I was not
intentionally making faces at the protester. I did smile at one point because I wanted him to know
that I was not going to become angry, intimidated or provoked into a larger confrontation.”
Phillips claims the teens were chanting “Build That Wall.” So far no footage has surfaced
backing up that claim, but this morning, new video shedding light on the moments before and
after the distressing incident. A separate group of protesters can be heard hurling slurs at the
young Kentucky students gathered at the March for Life.

DEMONSTRATOR: A bunch of future school shooters.

ERIELLE RESHEF: (Voiceover) When Phillips, seen beating his drum, approached the crowd.
Phillips later telling “The Detroit Free Press,” he was trying to calm the situation. “If their own
instructors, their own teachers, their own chaperones would have handled the situation right from
the beginning, it would never have happened.”

ERIELLE RESHEF: And we know that the crowd dispersed peacefully in the end. In his
statement Sandmann said he meant Phillips no harm and thanked him for his service. After the
first video surfaced, guys, the school quickly condemned the conduct of these boys, promising an
investigation, even disciplinary action against them up to expulsion if necessary.

GEORGE STEPHANOPOULOS (ABC NEWS): This is such a cautionary tale, I have to say, I
saw that first image on Saturday morning, and it seemed absolutely outrageous.

ERIELLE RESHEF: It seemed clear.

GEORGE STEPHANOPOULOS: But it shows what you can do with editing footage, a single
image. This was a much, much more complicated story. And it appears, at least, that this young
man was trying to do the right thing in some measure, maybe he didn’t do it perfectly, but trying.

ERIELLE RESHEF: Yeah, there was definitely a rush to judgment by a lot of people. And I
think it’s a teachable moment in our country and about the fact that this country is so polarized.
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ROBIN ROBERTS (ABC NEWS): It was a very lengthy video, didn’t you say...

ERIELLE RESHEF: Yes. An hour and 45 minutes, I watched.

ROBIN ROBERTS: So it’s hard just to take a snippet from it.

CECILIA VEGA: And it goes viral that quickly.

ERIELLE RESHEF: It does, yeah.

GEORGE STEPHANOPOULOS: Okay, Erielle, thanks very much.
